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                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION

This document relates to:

Cleveland Bakers & Teamsters Health &
Welfare Fund and Pipe Fitters Local Union   MDL No. 2804
No. 120 Insurance Fund v. Purdue Pharma     Case No. 17-md-2804
L.P., et al.                                Judge Dan Aaron Polster
Case No. 18-OP-45432 (N.D. Ohio)




   MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS COMPLAINT
     BY DEFENDANTS WALMART INC., CVS HEALTH CORP., RITE AID OF
        MARYLAND, INC., AND WALGREENS BOOTS ALLIANCE, INC.
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                      INTRODUCTORY STATEMENT OF THE ISSUES
                           AND SUMMARY OF ARGUMENT

        Rather than draft their own Complaint, Plaintiffs largely cut and paste more than 200

pages of assertions from the Summit County Second Amended Complaint. Doc. #514. (“Summit

County Complaint”). The claims have grown no more persuasive through recycling. They

should be dismissed under Rules 12(b)(1) and 12(b)(6) for all the reasons set out in the Motion to

Dismiss Summit County Second Amended Complaint by Walmart Inc., CVS Health Corp., Rite

Aid Corp., and Walgreens Boots Alliance, Inc., Doc. #497 at 8-17 (“Summit County Motion to

Dismiss”). 1 In addition, Plaintiffs’ suit suffers from a fatal defect all its own: It fails under “the

settled rule barring direct suits by third parties seeking to recover the costs of medical care paid

on behalf of individuals injured as a result of an alleged tortfeasor’s conduct.” SEIU v. Phillip

Morris, 249 F.3d 1068, 1073 (D.C. Cir. 2001). This suit is virtually identical to a raft of

litigation brought two decades ago against tobacco manufacturers by union health funds and

other third-party payors. Those lawsuits failed in the Sixth Circuit (and everywhere else)

because the third-party payors’ claims were too remote from the alleged harm to individual

smokers to sustain. See Perry v. Am. Tobacco Co., 324 F.3d 845, 849 (6th Cir. 2003) (collecting

cases). This unbroken line of precedent dictates that the court should dismiss Plaintiffs’ claims.

                                            ARGUMENT

        Of the eleven causes of action set forth in their Complaint, Plaintiffs attempt to state the

same six causes of action as did Summit County against Defendants Walmart Inc., Rite Aid of



        1
          Case Management Order One directs the parties to coordinate and consolidate briefing
on all the motions to dismiss and to avoid duplicative briefing by incorporating similar
arguments by reference. See Doc. #232. Accordingly, the Moving Defendants also incorporate
the arguments offered by the Major Distributors—AmerisourceBergen Corporation, McKesson
Corporation, and Cardinal Health (“Major Distributors’ Brief”).
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Maryland, Inc., Walgreens Boots Alliance, Inc., and CVS Health Corp. (collectively, the

“Moving Defendants”): negligence, unjust enrichment, civil conspiracy, statutory public

nuisance, common law absolute public nuisance, and injury through criminal acts under Ohio

Revised Code § 2307.60. All six claims fail. In addition, Plaintiffs lack standing and fail to state

any claims against the Moving Defendants in their capacities as retail pharmacies.

I.     Plaintiffs Lack Standing to Sue the Moving Defendants.

       Plaintiffs’ suit relates to an “opioid disaster” that they assert has affected “most

Americans . . . either directly or indirectly.” Compl. ¶ 3. They allege a broad array of public

harms, including “severe and far-reaching public health, social services, and criminal justice

consequences,” id. ¶ 20, and sue over payments they allegedly made to fund hospital, emergency

care, and pharmaceutical services arising from opioid misuse and addiction. See, e.g., Compl.

¶¶ 28, 29, 928. Plaintiffs’ claimed harms fail to satisfy the standing requirements of Article III

for two reasons: (1) they are derivative of harms suffered by third parties, and (2) they are not

fairly traceable to any alleged conduct by the Moving Defendants. See Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992).

       First, “Plaintiffs’ injury is not direct or particularized to Plaintiffs, as they seek damages

not for any personal injuries, but rather for the injury to others”—namely, individual opioid

users. Coyne v. Am. Tobacco Co., 183 F.3d 488, 495 (6th Cir. 1999); cf. Perry, 324 F.3d at 848-

49 (finding no “standing to bring suit under RICO” to “recover the increased costs of health-

related expenses due to smoking” because “the alleged injuries” were “inherently contingent on

injury to third-party smokers”).

       Second, on the traceability prong of Article III, Plaintiffs must show “a causal connection

between the injury and the conduct complained of—the injury has to be fairly traceable to the
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challenged action of the defendant, and not the result of the independent action of some third

party not before the court.” Lujan, 504 U.S. at 560 (internal citation, quotation, and alterations

omitted). Although “the causation need not be proximate,” standing “is generally more difficult

to establish when the injury is indirect.” Parsons v. U.S. Dep’t of Justice, 801 F.3d 701, 713 (6th

Cir. 2015). And although traceability need not rise to the level of but-for cause, “causation

means more than speculative” cause. Id. at 714. “[T]he mere possibility that causation is present

is not enough” to establish traceability; “the presence of an independent variable between . . . the

harm and the conduct makes causation sufficiently tenuous that standing should be denied.”

Arpaio v. Obama, 797 F.3d 11, 20 (D.C. Cir. 2015) (internal quotation omitted); see also Nova

Health Sys. v. Gandy, 416 F.3d 1149, 1157 (10th Cir. 2005) (standing not present when

speculative inferences connect injury to conduct).

       Here, it is entirely speculative whether the Moving Defendants’ alleged misconduct

caused Plaintiffs’ alleged injuries, and the causal link between the two is interrupted by

numerous independent actors. According to Plaintiffs, the direct causes of the opioid crisis were

the deceptive marketing practices of the Marketing Defendants, the prescribing practices of

physicians who over-prescribed opioids or ran “pill mills,” the individuals who supplied opioids

on the black market, and the individuals who abused the drugs. See, e.g., Compl. ¶¶ 17, 18, 140.

Plaintiffs’ main complaint against the Moving Defendants is that they failed to intervene, by

“monitoring and reporting suspicious activity,” to stop the crisis set in motion by these other

actors’ affirmative acts. See, e.g., Compl. ¶¶ 574, 1009. But it is pure conjecture to suggest that

monitoring and reporting “suspicious activity” (if any such activity even occurred) would have

reduced the alleged harms suffered by Plaintiffs as a result of so much independent culpable

conduct by third parties.
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        Moreover, as is discussed in more detail in Part IV below, the Sixth Circuit—and every

other circuit to have taken up the question—has rejected suits by third-party payors to recover

health-care costs incurred by smokers because the chain of causation is too remote. Perry, 324

F.3d at 849 (citing cases). Although those decisions rested on an analysis of causation under

statutory and common law, their reasoning further supports the conclusion that Plaintiffs’

claimed injuries are so remote and speculative that they are not even cognizable under Article III.

See S. Illinois Laborers' & Employers Health & Welfare Fund v. Pfizer Inc., No. 08 CV

5175KMW, 2009 WL 3151807, at *7 (S.D.N.Y. Sept. 30, 2009) (“The Court finds that Plaintiffs

have failed to establish Article III standing for the same reasons the Court finds Plaintiffs have

failed to establish standing under RICO—Plaintiffs have not alleged a causal connection between

the alleged injury and the challenged act.”).

II.     Plaintiffs State No Claims Against the Moving Defendants as Pharmacies.

        The Complaint purports to state claims against the Moving Defendants in their capacities

as distributors, not as dispensing pharmacies: It classifies the Moving Defendants as “Distributor

Defendants,” Compl. ¶ 93, and its claims for relief focus on the marketing, distribution, and sale

of opioids by marketers and distributors—not on filling prescriptions or dispensing medications,

id. ¶¶ 904-1159; see also, e.g., id. ¶ 536 (referring to “sales” by a manufacturer). Yet,

presumably in an effort to add color to their distributor claims against the Moving Defendants,

Plaintiffs make a handful of vague allegations that refer to some of the Moving Defendants in

their role as dispensing pharmacies. E.g., id. ¶¶ 574-89.

        To the extent that Plaintiffs intend these allegations to plead claims against the Moving

Defendants as dispensing pharmacies rather than distributors, those claims fail and should be

dismissed. The allegations at paragraphs 574-89 of the Complaint are manifestly insufficient
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under Iqbal and Twombly because they are vague, conclusory, and generic boilerplate. See

Iqbal, 556 U.S. at 678-79; Twombly, 550 U.S. at 555-56. Paragraphs 574-81 simply offer

context, not allegations of any conduct by the Moving Defendants, while paragraphs 582-589 are

exactly the sort of “‘naked assertion[s]’ devoid of ‘further factual enhancement’” that are legally

insufficient under Iqbal and Twombly. Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

557). Moreover, while Plaintiffs describe dispensing conduct by some (though not all) of the

Moving Defendants in other jurisdictions (Compl. ¶¶ 591-622), such allegations cannot support

claims against the Moving Defendants as dispensing pharmacies in this jurisdiction.

III.     The Ohio Product Liability Act Abrogates Plaintiffs’ Tort Claims.

         The Court should dismiss Plaintiffs’ tort claims because they have been abrogated by the

Ohio Product Liability Act (“OPLA”). See Major Distributors’ Brief Parts III.A & IV.A.

IV.      Plaintiffs’ Negligence Claim is Legally Deficient (Count 7).

         Even if Plaintiffs’ tort claims were not superseded by OPLA, they would still fail as a

matter of law. Plaintiffs allege that the Moving Defendants have a general common law duty to

exercise care in the distribution of opioids, and specifically to detect, identify, or report

suspicious orders. E.g., Compl. ¶¶ 79, 464-65, 469-73, 574-76, 581-82. That claim fails for the

reasons explained in the Summit County Motion to Dismiss at 8-17.

         Plaintiffs’ negligence claim also fails because they cannot establish proximate causation.

To begin with, as noted above, the actions of numerous third parties acting entirely

independently of the Moving Defendants break the causal chain between the Moving

Defendants’ alleged misconduct and Plaintiffs’ alleged injuries. See Part I supra. That alone

requires dismissal of Plaintiffs’ negligence claim. See, e.g., Ashley Cty. v. Pfizer, Inc., 552 F.3d

659, 670 (8th Cir. 2009).

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       In addition, Plaintiffs’ inability to show proximate cause is exacerbated by the fact that

Plaintiffs are private union insurance plans alleging that the Moving Defendants’ conduct caused

them to lose money by paying for medical care. In strikingly similar litigation brought by union

insurance plans and related parties against tobacco companies for costs allegedly incurred as a

result of injuries caused to smokers, all nine of the federal courts of appeals to consider the issue

“uniformly concluded that such claims must fail because the alleged injuries are too remote.”

Perry v. Am. Tobacco Co., Inc., 324 F.3d 845, 849 (6th Cir. 2003). 2 As the Third Circuit

explained, “[t]he tortured path that one must follow from the tobacco companies’ alleged

wrongdoing to the Funds’ increased expenditures demonstrates that the plaintiffs’ claims are

precisely the type of indirect claims that the proximate cause requirement is intended to weed

out.” Steamfitters Local, 171 F.3d at 930 (citing Palsgraf v. Long Island R. Co., 248 N.Y. 339

(1928) (Andrews, J., dissenting)).

       The courts in these cases recognized that they were applying “[t]he usual common law

rule . . . that a health-care provider has no direct cause of action in tort against one who injures

the provider’s beneficiary, imposing increased costs upon the provider.” United Food, 223 F.3d

at 1274; see also id. at 1274 n.7 (“the principles of proximate cause in federal RICO and antitrust

cases are borrowed largely from the general common law of proximate cause”). As explained in


       2
         See also Laborers Local 17 Health and Benefit Fund v. Philip Morris Inc., 191 F.3d 229
(2d Cir. 1999); Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris Inc., 171 F.3d
912 (3d Cir. 1999); Int’l Brotherhood of Teamsters, Local 734 Health and Welfare Trust Fund v.
Philip Morris, Inc., 196 F.3d 818 (7th Cir. 1999); Ore. Laborers-Employers Health & Welfare
Fund v. Philip Morris Inc., 185 F.3d 957 (9th Cir. 1999); Tex. Carpenters Health Benefit Fund v.
Philip Morris Inc., 199 F.3d 788, 789-90 (5th Cir. 2000); Lyons v. Philip Morris Inc., 225 F.3d
909 (8th Cir. 2000); United Food and Commercial Workers Unions, Employers Health and
Welfare Fund v. Philip Morris Inc., 223 F.3d 1271, 1273-74 (11th Cir. 2000); Serv. Employees
International Union Health and Welfare Fund v. Philip Morris Inc., 249 F.3d 1068 (D.C. Cir.
2001).
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the Seventh Circuit’s rejection of one of the claims, “[f]or more than 100 years state and federal

courts have adhered to the principle (under both state and federal law) that the victim of a tort is

the proper plaintiff, and that insurers or other third-party providers of assistance and medical care

to the victim may recover only to the extent their contracts subrogate them to the victim’s

rights.” Int’l Brotherhood of Teamsters, 196 F.3d at 822.

       The Sixth Circuit has applied this rule outside the context of RICO suits against tobacco

manufacturers. See, e.g., Pik-Coal Co. v. Big Rivers Elec. Corp., 200 F.3d 884 (6th Cir. 2000)

(contractual coal brokerage commissions); Firestone v. Galbreath, 976 F.2d 279, 285 (6th Cir.

1992) (estate beneficiaries); see also City of Cleveland v. Ameriquest Mortg. Sec., Inc., 621 F.

Supp. 2d 513, 532–33 (N.D. Ohio 2009) (dismissing the City of Cleveland’s subprime loan suit

against mortgage lenders on similar reasoning), aff’d sub nom. City of Cleveland v. Ameriquest

Mort. Sec., Inc., 615 F.3d 496 (6th Cir. 2010) (relying on Perry to find no proximate cause to

support nuisance claim). So have other courts. See, e.g., S. Illinois Laborers’ & Employers

Health & Welfare Fund v. Pfizer Inc., No. 08 CV 5175KMW, 2009 WL 3151807, at *7

(S.D.N.Y. Sept. 30, 2009) (holding that health care and welfare funds lacked Article III and

RICO standing to sue pharmaceutical company). And the Sixth Circuit has recognized that the

Ohio Supreme Court follows these same proximate cause principles under Ohio tort law. See

Ameriquest, 615 F.3d at 503.

       Recognition of proper proximate cause principles exposes Plaintiffs’ lawsuit for what it

is: “an illegitimate end-run around principles of subrogation.” Tex. Carpenters Health, 199 F.3d

at 790. Without subrogation (which Plaintiffs never even purport to plead), “a health-care

provider has no cause of action against a defendant who injures the health-care provider’s ward,



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causing the health-care provider to incur increased expenses.” United Food, 223 F.3d at 1273

n.5. Proximate cause is not present, and Plaintiffs’ claims fail.

V.      Plaintiffs’ Public Nuisance Claims Fail to Plausibly Allege Any Violation of Federal
        or State Law (Counts 5, 6).

        Plaintiffs allege that all “Defendants” as a group violated or aided and abetted the

violation of state and federal law in their distribution and sale of prescription opioids. Compl.

¶ 1008. Specifically, Plaintiffs claim that Defendants facilitated and encouraged the flow of

drugs into an illegal market; failed to maintain effective controls against diversion; failed to

monitor, investigate, or report suspicious orders; failed to suspend shipments of suspicious

orders; and distributed to “pill mills.” Id. ¶¶ 1009, 1033.

        As an initial matter, Plaintiffs lack authority to maintain this statutory nuisance claim.

Ohio law provides that only “the attorney general, the prosecuting attorney of any county in

which the offense was committed or in which the person committing the offense resides, or the

state board of pharmacy may maintain” a statutory nuisance action for a controlled-substances

nuisance. Ohio Rev. Code. § 4729.35. Plaintiffs, which are union healthcare insurers, do not fall

within any of these categories.

        In any event, Plaintiffs’ public nuisance claims also fail for the reasons explained in the

Summit County Motion to Dismiss. See Summit County Motion to Dismiss at 17-21.

VI.     Plaintiffs’ Unjust Enrichment Claim Fails Because Plaintiffs Conferred No Benefit
        on the Moving Defendants (Count 10).

        Plaintiffs allege that all “Defendants” as a group profited and benefited from the increase

in the distribution and purchase of opioids within Plaintiffs’ communities, including from

opioids foreseeably and deliberately diverted within and into Plaintiffs’ communities. Compl.

¶ 1131. That claim fails for the reasons explained in the Summit County Motion to Dismiss (at

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21) and in Perry. To the extent Plaintiffs argue that, “by bearing a portion of the increased

health expenses resulting from [the Moving] Defendants’ conduct, Plaintiffs . . . unjustly

enrich[ed the Moving] Defendants for costs that [the Moving] Defendants should be forced to

bear,” “such unjust enrichment claims should be dismissed on remoteness grounds.” Perry, 324

F.3d at 851. Moreover, just as the defendants in Perry had “no legal duty to smokers to pay their

medical costs,” so too the Moving Defendants had no duty to pay any medical costs derived from

opioid use. Id. Thus, the decision by third-party payors to cover those costs did not enrich the

Moving Defendants. See id.

VII.   Plaintiffs Fail to Establish an Actionable Civil Conspiracy Claim (Count 11).

       Plaintiffs allege a civil conspiracy to “commit fraud and misrepresentation” in

conjunction with their unlawful distribution of opioids. Compl. ¶¶ 1146, 1148, 1154. That claim

fails for the reasons explained in the Summit County Motion to Dismiss. See Summit County

Motion to Dismiss at 21-23.

VIII. Plaintiffs’ Claim Under Ohio Rev. Code § 2307.60 Fails on Multiple Grounds
      (Count 9).

       Plaintiffs allege that all “Defendants” as a group knowingly induced or caused members

of Plaintiffs’ communities to use a controlled substance by deception, flooded the market with

opioids, and deliberately disregarded their obligations to maintain effective controls against

diversion in violation of R.C. § 2925.02(A)(1) and (A)(3). Compl. ¶¶ 1115-16. That claim fails

for the reasons explained in the Summit County Motion to Dismiss. See Summit County Motion

to Dismiss at 23-24.




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                                      CONCLUSION

       For the foregoing reasons, all claims against the Moving Defendants should be dismissed

with prejudice.



       Dated: 23 July 2018

                                                     Respectfully submitted,


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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(f)
       Pursuant to Local Rule 7.1(f), I hereby certify that this Court has ordered that length

limitations applicable to complex cases apply to this matter, ECF No. 232 at 4 (No. 1:17-MD-

2804), and that the foregoing Memorandum of Law is 12 pages in length and within Rule 7.1(f)’s

30-page limit for a complex case.



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